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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                  Chapter 11

RTI HOLDING COMPANY, LLC, et al., 1                     Case No. 20-12456 (JTD)

                 Reorganized Debtors.                   (Jointly Administered)

PROTECTIVE LIFE INSURANCE
COMPANY,

                 Interpleader Plaintiff,

v.
                                                        Adv. Proc. No. 21-50311 (JTD)
RUBY TUESDAY, INC.,
RUBY TUESDAY OPERATIONS LLC,
ELEANOR TAYLOR, DAVID G. LYNCH,
JOHN J. LYNCH III, JOSEPH P. LYNCH,
CATHERINE BUCK, and
FRANCIS S. LYNCH,

                 Interpleader Defendants.


             NOTICE OF AGENDA OF MATTERS SCHEDULED FOR HEARING
              ON JULY 13, 2021 AT 10:00 A.M. (PREVAILING EASTERN TIME)
                     BEFORE THE HONORABLE JOHN T. DORSEY

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         The Debtors in these chapter 11 cases and the last four digits of each Debtor’s U.S. tax identification
number are as follows: RTI Holding Company, LLC (4966); Ruby Tuesday, Inc. (5239); Ruby Tuesday, LLC
(1391); RTBD, LLC (6505); RT of Carroll County, LLC (8836); RT Denver Franchise, L.P. (2621); RT Detroit
Franchise, LLC (8738); RT Distributing, LLC (6096); RT Finance, LLC (7242); RT FL Gift Cards, Inc. (2189); RT
Florida Equity, LLC (7159); RT Franchise Acquisition, LLC (1438); RT of Fruitland, Inc. (1103); RT Indianapolis
Franchise, LLC (6016); RT Jonesboro Club (2726); RT KCMO Franchise, LLC (7020); RT Kentucky Restaurant
Holdings, LLC (7435); RT Las Vegas Franchise, LLC (4969); RT Long Island Franchise, LLC (4072); RT of
Maryland, LLC (7395); RT Michiana Franchise, LLC (8739); RT Michigan Franchise, LLC (8760); RT
Minneapolis Franchise, LLC (2746); RT Minneapolis Holdings, LLC (7189); RT New England Franchise, LLC
(4970); RT New Hampshire Restaurant Holdings, LLC (7438); RT New York Franchise, LLC (1154); RT Omaha
Franchise, LLC (7442); RT Omaha Holdings, LLC (8647); RT One Percent Holdings, LLC (6689); RT One Percent
Holdings II, LLC (2817); RT Orlando Franchise, LP (5105); RT Restaurant Services, LLC (7283); RT South Florida
Franchise, LP (3535); RT Southwest Franchise, LLC (9715); RT St. Louis Franchise, LLC (6010); RT Tampa
Franchise, LP (5290); RT Western Missouri Franchise, LLC (6082); RT West Palm Beach Franchise, LP (0359);
RTTA, LP (0035); RTT Texas, Inc. (2461); RTTT, LLC (9194); Ruby Tuesday of Allegany County, Inc. (8011);
Ruby Tuesday of Bryant, Inc. (6703); Ruby Tuesday of Columbia, Inc. (4091); Ruby Tuesday of Frederick, Inc.
(4249); Ruby Tuesday of Linthicum, Inc. (8716); Ruby Tuesday of Marley Station, Inc. (1641); Ruby Tuesday of
Pocomoke City, Inc. (0472); Ruby Tuesday of Russellville, Inc. (1601); and Ruby Tuesday of Salisbury, Inc. (5432).
The Debtors’ mailing address is 216 East Church Ave., Maryville, TN 37804.


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  PLEASE TAKE NOTICE: All remote hearings scheduled before Judge Dorsey will be
   conducted entirely over Zoom and will require all participants to register in advance.
  CourtCall will no longer be used to dial in unless otherwise specified by chambers. This
  hearing will be held via Zoom only. Any party wishing to appear must register no later
                  than one (1) hour prior to the hearing at the link below:

                                 Meeting Registration - Zoom (zoomgov.com)



    I.           ADJOURNED PRE-TRIAL CONFERENCE [ADV. 21-50311 (JTD)]

    1.           Complaint-In-Interpleader [Adv. D.I. 1; 4/1/2021]

                 Answer Deadline:            Extended by Agreement of the Parties to July 22, 2021 per
                                             the Order Approving the Third Stipulation for Further
                                             Extension of Time to Answer, Move, or Otherwise
                                             Response to Complaint [Adv. D.I. 13; 7/8/2021]

                 Related Pleadings:

                 i.        Notice of Rescheduled Pre-Trial Conference [Adv. D.I. 12; 7/8/2021]

                 Status:            The pre-trial conference has been adjourned to August 3, 2021 at
                                    3:00 p.m. (ET).


    II.          ADJOURNED MATTERS

    2.           Motion of Goldman Sachs Specialty Lending Group, L.P. to Enforce Confirmation
                 Order [D.I. 1465; 6/22/2021]

                 Objection Deadline:         July 6, 2021 at 5:00 p.m. (ET); Extended to July 26, 2021
                                             at 5:00 p.m. (ET) per Notice of Adjourned Hearing [D.I.
                                             1496]

                 Objections/Informal Responses:              None

                 Related Pleadings:

                 i.        Notice of Adjourned Hearing Concerning Motion of Goldman Sachs Specialty
                           Lending Group, L.P. to Enforce Confirmation Order [D.I. 1496; 7/2/2021]



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                 Status:           This matter has been adjourned to August 3, 2021 at 3:00 p.m. (ET).


    III.         MATTERS UNDER CERTIFICATION OF COUNSEL/
                 CERTIFICATE OF NO OBJECTION

    3.           The Reorganized Debtors’ Sixth Omnibus Objection (Non-Substantive) to Certain No
                 Documentation Claims [D.I. 1440; 6/10/2021]

                 Objection Deadline:        June 24, 2021 at 4:00 p.m. (ET)

                 Objections/Informal Responses:

                 A.        Informal Response by Danielle Gagnon

                 B.        Informal Response by Flaherty Sensabaugh Bonasso PLLC

                 C.        Informal Response by Indemand Landscape Systems

                 D.        Informal Response by Johnston County Tax Collector

                 E.        Informal Response by Linda Brancato

                 F.        Informal Response by City of Winter Haven

                 G.        Response of the City of Winder to the Reorganized Debtors Sixth Omnibus
                           Objection (Non-Substantive) to Certain No Documentation Claims [D.I. 1462;
                           6/21/2021]

                 Related Pleadings:

                 i.        Withdrawal of Claim No. 556 filed by Indian River Tax Collector [D.I. 1474;
                           6/23/2021]

                 ii.       Withdrawal of Claim No. 557 filed by Indian River County Tax Collector
                           [D.I. 1475; 6/23/2021]

                 iii.      Notice of Submission of Proofs of Claim Submitted in Connection with the
                           Reorganized Debtors’ Sixth Omnibus Objection (Non-Substantive) to Certain
                           No Documentation Claims [D.I. 1485; 6/29/2021]

                 iv.       The Reorganized Debtors’ Notice of Withdrawal of Certain Proofs of Claim
                           Subject to the Reorganized Debtors’ Sixth Omnibus Objection (Non-
                           Substantive) to Certain No Documentation Claims [D.I. 1503; 7/8/2021]




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                 v.        Certification of Counsel Regarding The Reorganized Debtors’ Sixth Omnibus
                           Objection (Non-Substantive) to Certain No Documentation Claims [D.I. 1509;
                           7/92021]

                 Status:           On July 9, 2021, the Reorganized Debtors filed a Certification of
                                   Counsel regarding this matter. Accordingly, no hearing is necessary
                                   unless the Court has questions or concerns.

    4.           The Reorganized Debtors’ Seventh Omnibus Objection (Non-Substantive) to Certain
                 No Documentation Claims [D.I. 1441; 6/10/2021]

                 Objection Deadline:        June 24, 2021 at 4:00 p.m. (ET)

                 Objections/Informal Responses:

                 A.        Informal Response by Chris Wittenberg

                 B.        Janice Wagner’s Response to the Reorganized Debtors’ Seventh Omnibus
                           Objection (Non-Substantive) to Certain No Documentation Claims [D.I. 1467;
                           6/23/2021]

                 C.        Objection to Reorganized Debtors’ Seventh Omnibus Objection (Non-
                           Substantive) to Certain No Documentation Claims filed by Town of
                           Christianburg, Virginia [D.I. 1473; 6/23/2021]


                 Related Pleadings:

                 i.        Notice of Submission of Proofs of Claim Submitted in Connection with the
                           Reorganized Debtors’ Seventh Omnibus Objection (Non-Substantive) to
                           Certain No Documentation Claims [D.I. 1486; 6/29/2021]

                 ii.       The Reorganized Debtors’ Notice of Withdrawal of Certain Proofs of Claim
                           Subject to the Reorganized Debtors’ Seventh Omnibus Objection (Non-
                           Substantive) to Certain No Documentation Claims [D.I. 1504; 7/8/2021]

                 iii.      Certification of Counsel Regarding The Reorganized Debtors’ Seventh
                           Omnibus Objection (Non-Substantive) to Certain No Documentation Claims
                           [D.I. 1510; 7/9/2021]

                 Status:           On July 9, 2021, the Reorganized Debtors filed a Certification of
                                   Counsel regarding this matter. Accordingly, no hearing is necessary
                                   unless the Court has questions or concerns.




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    5.           The Reorganized Debtors’ Ninth Omnibus Objection (Substantive) Seeking to
                 Reclassify Certain Claims [D.I. 1443; 6/10/2021]

                 Objection Deadline:        June 24, 2021 at 4:00 p.m. (ET)


                 Objections/Informal Responses:

                 A.       Informal Response by Joni F. Smith

                 B.       Informal Response by Michael J. Vaccaro

                 C.       Informal Response by Greg Villaran

                 D.       City of Oldsmar’s Response to Reorganized Debtors’ Ninth Omnibus
                          Objection (Substantive) Seeking to Reclassify Certain Claims [D.I. 1457;
                          6/16/2021]

                 E.       Response of Pasco County, Florida and Objection to Debtor Reclassifying
                          Pasco County’s Secured Proof of Claim No. 866 [D.I. 1464; 6/22/2021]

                 F.       Andrew O’Toole’s Response to Reorganized Debtors’ Ninth Omnibus
                          Objection (Substantive) Seeking to Reclassify Certain Claims [D.I. 1469;
                          6/23/2021]

                 G.       Response to Debtors’ Ninth Omnibus Objection (Substantive) Seeking to
                          Reclassify Certain Claims filed by Kenneth Versichele [D.I. 1483; 6/25/2021]

                 Related Pleadings:

                 i.       Notice of Submission of Proofs of Claim in Connection with the Reorganized
                          Debtors’ Ninth Omnibus Objection (Substantive) Seeking to Reclassify
                          Certain Claims [D.I. 1488; 6/29/2021]

                 ii.      The Reorganized Debtors’ Notice of Withdrawal of Certain Proofs of Claim
                          Subject to the Reorganized Debtors’ Ninth Omnibus Objection (Substantive)
                          Seeking to Reclassify Certain Claims [D.I. 1506; 7/8/2021]

                 iii.     Notice of Adjournment of Hearing Regarding Certain Claims of the
                          Reorganized Debtors’ Ninth Omnibus Objection (Substantive) Seeking to
                          Reclassify Certain Claims [D.I. 1507; 7/8/2021]

                 iv.      Certification of Counsel Regarding the Reorganized Debtors’ Ninth Omnibus
                          Objection (Substantive) Seeking to Reclassify Certain Claims [D.I. 1512;
                          7/9/2021]




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                 Status:          On July 9, 2021, the Reorganized Debtors filed a Certification of
                                  Counsel regarding this matter. Accordingly, no hearing is necessary
                                  unless the Court has questions or concerns. The informal responses
                                  received by Michael Vaccaro and Greg Villaran; and the formal
                                  response received by Kenneth Versichele have been adjourned to the
                                  omnibus hearing scheduled on August 3, 2021 at 3:00 p.m. (ET).


    6.           The Reorganized Debtors’ Tenth Omnibus Objection (Substantive) to Certain No
                 Liability Claims and Request for Limited Waiver of Local Rule 3007-1(f)(iii), to the
                 Extent Such Rule May Apply [D.I. 1444; 6/10/2021]

                 Objection Deadline:       June 24, 2021 at 4:00 p.m. (ET)

                 Objections/Informal Responses:            None

                 Related Pleadings:

                 i.      Notice of Submission of Proofs of Claim in Connection with the Reorganized
                         Debtors’ Tenth Omnibus Objection (Substantive) to Certain No Liability
                         Claims and Request for Limited Waiver of Local Rule 3007-1(f)(iii), to the
                         Extent Such Rule May Apply [D.I. 1489; 6/29/2021]

                 ii.     Certificate of No Objection Regarding the Reorganized Debtors’ Tenth
                         Omnibus Objection (Substantive) to Certain No Liability Claims and Request
                         for Limited Waiver of Local Rule 3007-1(f)(iii), to the Extent Such Rule May
                         Apply [D.I. 1513; 7/9/2021]

                 Status:          A Certificate of No Objection has been filed and the proposed form
                                  of order has been uploaded. Accordingly, no hearing is necessary
                                  unless the Court has questions or concerns.

    7.           The Reorganized Debtors’ Eleventh Omnibus Objection (Substantive) to (I) Certain
                 No Liability Claims, (II) Modified Amount Claims; and (III) Request for Limited
                 Waiver of Local Rule 3007-1(f)(iii), to the Extend Such Rule May Apply [D.I. 1445;
                 6/10/2021]

                 Objection Deadline:       June 24, 2021 at 4:00 p.m. (ET)

                 Objections/Informal Responses:

                 A.      Informal Response by Andrew O’Toole




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                 Related Pleadings:

                 i.      Notice of Submission of Proofs of Claim in Connection with the Reorganized
                         Debtors’ Eleventh Omnibus Objection (Substantive) to (I) Certain No
                         Liability Claims, (II) Modified Amount Claims; and (III) Request for Limited
                         Waiver of Local Rule 3007-1(f)(iii), to the Extend Such Rule May Apply [D.I.
                         1490; 6/29/2021]

                 ii.     Certification of Counsel Regarding the Reorganized Debtors’ Eleventh
                         Omnibus Objection (Substantive) to (I) Certain No Liability Claims, (II)
                         Modified Amount Claims; and (III) Request for Limited Waiver of Local Rule
                         3007-1(f)(iii), to the Extend Such Rule May Apply [D.I. 1514; 7/9/2021]

                 Status:          On July 9, 2021, the Reorganized Debtors filed a Certification of
                                  Counsel regarding this matter. Accordingly, no hearing is necessary
                                  unless the Court has questions or concerns.

    8.           The Reorganized Debtors’ Eighth Omnibus (Non-Substantive) Objection to Certain
                 (I) Amended and Superseded Claims, or (II) Late Filed Claims [D.I. 1447; 6/10/2021]

                 Objection Deadline:       June 24, 2021 at 4:00 p.m. (ET)

                 Objections/Informal Responses:

                 A.      Informal Response by Family Trust of Adam and Jordan Farmer

                 B.      Informal Response by Joni Faye Smith

                 C.      Informal Response by Wilkinson Langhorne LP

                 D.      Informal Response by William and Rose Marie Von Hegel

                 E.      Letter Response filed by Andrew O’Toole [D.I. 1468; 6/23/2021]

                 F.      Response to Reorganized Debtors’ Eighth Omnibus (Non-Substantive)
                         Objection to Certain (I) Amended and Superseded Claims, or (II) Late Filed
                         Claims filed by Ernest Jones [D.I. 1482; 6/25/2021]

                 Related Pleadings:

                 i.      The Reorganized Debtors’ Eighth Omnibus (Non-Substantive) Objection to
                         Certain (I) Amended and Superseded Claims, or (II) Late Filed Claims [D.I.
                         1442; 6/10/2021]

                 ii.     Notice of Withdrawal of The Reorganized Debtors’ Eighth Omnibus (Non-
                         Substantive) Objection to Certain (I) Amended and Superseded Claims, or (II)
                         Late Filed Claims [D.I. 1446; 6/10/2021]


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                 iii.     Notice of Submission of Proofs of Claim in Connection with the Reorganized
                          Debtors’ Eighth Omnibus (Non-Substantive) Objection to Certain (I)
                          Amended and Superseded Claims, or (II) Late Filed Claims [D.I. 1487;
                          6/29/2021]

                 iv.      The Reorganized Debtors’ Notice of Withdrawal of Certain Proofs of Claim
                          Subject to the Reorganized Debtors’ Eighth Omnibus (Non-Substantive)
                          Objection to Certain (I) Amended and Superseded Claims, or (II) Late Filed
                          Claims [D.I. 1505; 7/8/2021]

                 v.       Certification of Counsel Regarding The Reorganized Debtors’ Eighth
                          Omnibus (Non-Substantive) Objection to Certain (I) Amended and
                          Superseded Claims, or (II) Late Filed Claims [D.I. 1511; 7/9/2021]

                 Status:         On July 9, 2021, the Reorganized Debtors filed a Certification of
                                 Counsel regarding this matter. Accordingly, no hearing is necessary
                                 unless the Court has questions or concerns.

    IV.          STATUS CONFERENCE

    9.           Objection of Lenox Outdoor and Advertising, LLC to Assumption, Cure Amount and
                 Potential Assignment [D.I. 954; 1/28/2021]

                 Objection Deadline:        N/A

                 Objections/Informal Responses:               N/A

                 Related Pleadings:

                 i.       Notice to Counterparties to Executory Contracts and Unexpired Leases that
                          May be Assumed and Assigned [D.I. 723; 12/14/2020]

                 ii.      Notice of Hearing Regarding Objection of Lenox Outdoor and Advertising,
                          LLC to Assumption, Cure Amount and Potential Assignment [D.I. 1438;
                          6/9/2021]

                 Status:         This matter is going forward as a status conference.




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   Dated: July 9, 2021                ASHBY & GEDDES, P.A.
   Wilmington, Delaware
                                      /s/ Katharina Earle
                                       Gregory A. Taylor (DE Bar No. 4008)
                                       Katharina Earle (DE Bar No. 6348)
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                                      Debtors




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